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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA
WESTERN DIVISION

 

Disability Rights California, California CASE NO.: CV09-3664 VBF (FFMx)
Protection and Advocacy Agency For
Persons With Disabilities, FIRST AMENDED COMPLAINT FOR
DECLARATORY AND INJUNCTIVE
Plaintiff, | RELIEF

Vv. Dept: Spring Street, 9
Judge: Valerie Baker Fairbank
SunBridge Braswell Enterprises, Inc., Hearing Date and Time: July 6, 2009,

dba Sierra Vista Rehabilitation Center, 1:30 p.m.
Defendant. | Action Filed: May 22, 2009

 

 

 

 

 

 

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JURISDICTION

j. This Court has jurisdiction over the claims brought herein pursuant to
28 U.S.C. § 1331 (West 2009) and 28 U.S.C. § 2201 (West 2009).

2. Plaintiff brings its claims for access to information, records, and
residents at the facility under the Protection and Advocacy for Individuals with
Mental lliness Act (hereinafter “PAIMI"), 42 U.S.C. § 10804, ef seg. (West 2009);
the Developmenial Disabilities Assistance and Bill of Rights Act (hereinafter
“PADD”"), 42 U.S.C. § 15001, ef seq. (West 2009); and California Welfare and
Institutions Code Section 4900 ef seg. (West 2009). Supplemental jurisdiction
over state law claims is allowed under 28 U.S.C. § 1367 (West 2009).

PRELIMINARY STATEMENT
3. This case involves Plaintiffs authority to access information and

records pursuant to iis probable cause determination that Defendant staff use
excessive force with behavioral restraint and that facility residents are at
significant risk of unnecessary and inappropriate behavioral restraint, which can
cause serious injury or death.

4, Plaintiff, Disability Rights Califomla (hereinafter “DIRC"), brings this
action against the Defendant, Sunbridge Braswell Enterprises, inc., dba Sierra
Vista Rehabilitation Center (hereinafter “Sierra Vista"), seeking to compel
Defendant to provide to DRC information and records, including reports prepared
by Defendant, in order that DRC may fulfill its statutory mandates under federal
and state law. |

5. DRC has been mandated and designated as the Protection and
Advocacy System for persons with disabilities in California under federal and
state law. This mandate arose due to the federally acknowledged vulnerability
and resulting risk of abuse and neglect of persons with developmental and mental
disabilities, particularly while residing in facilities.

 

 
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6. Current professional and medical standards suggest that the use of
behavioral restraint and seclusion is a sign of treatment failure. Further,
behavioral restraint and seclusion are risky practices for any facility to undertake
because when used inappropriately or excessively, these practices can lead to
serious injury or death. When restraint and seclusion are used inappropriately or
excessively, such practices become abuse, which is criminally actionable.

7. When abuse or neglect is reported to DRC or there is probable cause
to believe that the incidents occurred, DRC has the authority as California’s
Protection and Advocacy System to access information, records, and reports
prepared by Defendant in order to conduct a full investigation.

8. Multiple residents at Sierra Vista have reported to DRC incidents of
excessive or inappropriate use of restraints by facility staff toward them and other
residents. DRC has reason to believe that these incidents have occurred and
continue to occur at Sierra Vista. Further, DRC has reason to belleve that there is
significant risk of other residents being subject to such abuse at the facility.

8. DRC is the final arbiter of probable cause for the purpose of triggering
its access fo information and records relevant to its abuse investigation.

10. Pursuant to its full investigation into abuse, DRC has made repeated
requesis to Defendant for information and records, including reports prepared by
facility staff concerning the incidence and types of behavioral restraint used at
Sierra Vista. Defendant repeatedly has denied such requests in violation of
federal statutes and implementing regulations as well as State law.

11. As part of its mandate, DRC aiso has authority to access facilities,
such as Sierra Vista, to provide information to residents, monitor compliance with
respect to the rights and safety of residents, and investigate abuse or neglect of
residents.

 

 
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i2. Defendant has delayed or denied DRC access to Sierra Vista and
residents.

13. DRC has been harmec as a result of Defendant's illegal denial of
access to both information and records and the facility and residents therein. lis
ability to conduct a full investigation has been impeded. As a result, it has been
forced to spend time and resources on repeated requests to little or no avail,
thereby delaying its investigatory findings.

14. DRC hereby seeks the following relief: 1) a declaratory judgrnent that
Defendant, by refusing to provide DRC the requested reports, delaying or denying
access to other information and records, and delaying or denying access to
facility residents has violated federal and state law, 2) a preliminary and
permanent injunction requiring Defendant to provide the requested access to
records and residents at the facility; and 3) a preliminary and permanent
injunction forbiading Defendant from interfering, in any way, with DRC's statutorily
authorized access to facility reports and residents consistent with federal and
state law.

VENUE
15. Venue is appropriate in this district pursuant to 28 U.S.C. § 13914(b)
(West 2009) as a substantial portion of the events or omissions giving rise to
Plaintiff's claims occurred within this jucicial district.

PARTIES
16. Plaintiff DRC is a non-profit agency designated as California's
Protection and Advocacy System for persons with disabilities pursuant to
California Welfare and Institutions Code (hereinafter “Cal. Welf. & Inst. Code”)
Sections 4900(i) and 4901. DRC has standing pursuant to an express private

 

 
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right of action to enforce its authorizing statutes and to bring suit on behalf of its
constituents.

17. Defendant Sunbridge Braswell Enterprises, inc. does business as
Sierra Vista Rehabilitation Center. Slerra Vista is located in Highland, California,
within San Bernardino County, and is licensed as a skilled nursing facility
pursuant to California Health and Safety Code Section 1250; Title 22, Callfornia
Code of Regulations, §§ 72001-72713.

18. Based on information and belief, the facility is licensed for 116 beds,
and has a Special Treatment Program that serves approximately 71 adults with
mental health disabilities. Title 22, California Code of Regulations, §§ 72443-
72475. lt also has a Specialized Behavioral Prograrn that serves approximately
45 adults with developmental and mental health disabilities; both programs serve
deaf and hearing-impaired adults. individuals who reside at Sierra Vista are from
San Bernardino and other California counties. Care for at least some of the
residents at the facility is funded in part by Medicaid (Medi-Cal in California), and
therefore the facility must comply with 42 U.S.C. Sections 1395-1395ggg and
1396-1396v, and federal regulations under 42 C.F.R. Parts 424 (2009) and 483
(2006).

19. Based on information and belief, Defendant is a corporation having
headquarters in Albuquerque, New Mexico. It operates Sierra Vista as wel! as
other Behavioral Health centers in California. Sun Healthcare Group, Inc.
(hereinafter “Sun Healthcare”) owns one hundred percent of the shares of
Sunbridge Healthcare Corporation, which owns one hundred percent of the
shares of Regency Health Services, which is the parent company of Defendant

sunbridge Braswell Enterprises, Inc.
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FACTS
20. On October 17, 2008, a DRC staff member from the Peer and Self-

Advocacy Unit (hereinafter “PSAU") was conducting a regularly scheduled group
meeting with residents at Sierra Vista. In the group meeting, residents reported
excessive force being used by staff in events they termed as “wall slammings’”
and “take downs.”

21. On November 7, 2008, DRC Legal Unit staff accompanied a DRC
PSAU staff member to her regular advocacy meeting with Sierra Vista residents.
Also present at this meeting were representatives of the local Long-Term Care
Ombudsman Pragram (See Cal. Welfare & institutions Code §§ 9700 ef seq.) and

-of the San Bernardino County Patient’s Rights Advocate Office (See Cal. Welf. &

Inst. Code §§ 5520-5523).

22. Residents reported that excessive force was being used during “wall
slammings” initiated by Sierra Vista staff with the following characteristics: 4)
residents were pushed forcefully against the wall at a high elevation off the
ground: 2) residents’ limbs were forcefully pulled and spread against the wall; and
3) residents were then dropped to the floor on their knees. Residents reported
bruising, pain, general fear, and trauma.

23. After the November 7, 2008 meeting, DRC Legal Unit staff began to
investigate what the residents described as “Pro-Aci” through on-line research.
DRC staff learned that Professional Assault Crisis Training (“Pro-Act”) was a
method of crisis intervention that included restraint techniques only to be used as
@ last resort. DRC also learned that these principles and techniques were used
by multiple facilities other than Sierra Vista.

24, Since DRC was receiving complaints about abusive incidents related
to restraint practices and techniques at Sierra Vista, Plaintiff limited its
investigation to polices, practices and techniques for use of behavioral restraint at
Defendant's facility.

 

 
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25. As a result of DRC’s on-going investigation and the two group
meetings on October 17, 2008 and November 7, 2008 with residents reporting
highly similar complaints, DRC opened a full investigation into possible abuse and
negiect at Sierra Vista based on probable cause that facility residents had been
subject to inappropriate restraint and excessive force in the use of restraint and
that there was a significant risk of other residents being subject to such treatment
at the facility. See 42 U.S.C. §§ 10805(a1)(A) & 15043(a)\(2)(B) [authority to
investigaie abuse and negiect]; 42 C.F.R. § 51.2 (1997); 45 C.F.R. § 1386.19
(1996) [definitions of “abuse”, “Tull investigation’, and “probable cause”|.

LIVETATIONS ON RESTRAINT

Federal Law
26. Under federal law, Sierra Vista residents have the right to be free from

physical or mental abuse, including any physical or chemical restraint imposed for
purposes of discipline or convenience. 42 U.S.C. § 1396r(c}(1 AID; 42 U.S.C, §
290ii(a), 42 C.F.R. § 483.13(a) (4992). Each “resident has the right to be free
from verbal, sexual, physical, and mental abuse, corporal punishment, and
involuntary seclusion.” 42 C.F.R. § 483.13(b) (1992).

27, Restraint and seclusion may only be imposed to ensure physical
safety and upon a written order by a physician or other authorized medical
provider that specifies duration and circumstances under which restraints are to
be used. 42 U.S.C. § 290ii(b).

28. Sierra Vista has a duty to “develop and implement written policies and
procedures that prohibit mistreatment, neglect, and abuse of residents ... .” 42
C.F.R, § 483.13(c) (7992).

29. Defendant “must promote care for residents in a manner and in an
environment that maintains or enhances each resident’s dignity and respect in full
recognition of his or her individuality.” 42 C.F.R. § 483.15(a) (1992).

 

 
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30. Each Sierra Vista resident “must receive and the facility must provide
the necessary care and services to attain or mainiain the highest practicable
physical, mental, and psychosocial well-being ... .” 42 C.F.R. § 483.25 (2005).

31. Federal law shall not be construed tc impede any state law or
regulations that provide greater protections regarding restraint and seclusion. 42
U.S.C. § 290ii(c).

state Law

32. State law also provides that persons with psychiatric disabilities have
a right to be free from harm, including unnecessary or excessive physical restraint
or isolation. Cal. Welf. & Inst. Code § 5325. 1(c).

33. Behavioral Restraint and/or seclusion may only be used for behavioral
emergencies when a person’s behavior presents an imminent danger of serious
harm to self or others. Cal. Health & Safety Code § 1180.4(b).

34. Restraint and/or seclusion may only be used when alternative
methods are not sufficient to protect the patient or others from injury. Cal. Code
Regs. tit. 9, § 865.2(a).

35. Restraint and/or seciusion must never be used as a punishment, for
staff convenience, or as a substitute for a less restrictive alternative form of
treatment. Cal. Code Regs. tit. 9, § 865.4(a); Cal. Code Regs. tit. 22, §§ 72319(d},
72527(a)(23).

36. Restraint and/or seclusion may only be used for as long as necessary
to protect the patient or others from injury and there is no less restrictive way of

|protecting against such injury. Cal. Code Regs. tit. 9, §§ 865.4(a), 865.5.

37, Restraint and/or seclusion may be imposed only upon written order of
a physician, or in a legally defined emergency, upon telephone order by a
physician within one hour of seclusion and/or restraint. Cal. Code Regs. tit. 22, §
72461(a).

 

 
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38. Use of restraint must be properly documented in the patient's medical
records. Cal. Code Regs. tit. 22, § 72461(c), Cal. Cade Rags. tit. 9, § 865.3.

39. Restraints shall be used in such a way so as not fo cause physical
injury to the patient. Cal. Code Regs. tit. 22, § 72319(g).

40. State law requires Defendant to adopt written policies and procedures
regarding the use of manual and/or behavioral restraints at Sierra Vista, and to
make such information available to facility residents. Cal. Code Regs. tit. 22, §§
72523, 72319, 72527; Cal. Health & Safety Code § 1599.1.

INFORMATION REQUESTS & ON-GOING INVESTIGATION
41, In a letter dated November 21, 2008 to Defendant, DRC referenced

the multiple reports of excessive physical force by facility staff, requested a
meeting to discuss Pro-Aci techniques and facility policies concerning physical
contact between staff and residents, and requested copies of policies and
procedures regarding the facility's use of Pro-Act restraint. DRC stated that its
goal was to inform residents of their rights in regards to restraint techniques being
used at the facility, to ensure residents’ rights to dignity and respect were upheld,
and that the agency sought to address resident reports in a coordinated,
pragmatic, and problem-solving manner consistent with 42 C.F.R. Section
§1.32(a) (1997).

42. Defendant's counsel sent a December 2, 2008 letter to DRC stating
that they were gathering the requested Pro-Act policies and procedures and were
considering whether or not to produce them. They also requested client-specific
information.

43. DRC provided a written response the same day citing access
authority under federal and state law, and referencing 42 C.F.R. Section
51.45(aj(1} (1897), which require protection of client name and information
underlying a probable cause determination.

 

 
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44. On December 8, 2008, Defendant's counsel sent DRC the “Pro-Act
procedures and materials” used at Sierra Vista as follows: Pro-Act workshop
manual, Pro-Act Exercise Booklet, Fro-Act Restraint Certification, and Pro-Act
Restraint Certification Exercise Booklet, which in total constitute 371 pages.

45. Based on information and belief, Defendant has not adopted written
policies and procedures for emergency use of behavioral restraints at Sierra
Vista. The facility was found out of compliance with state law and reguiations on
the issue by the State Department of Mental Health and by the Riverside County
Patients’ Rights Advocates Office in 2005 and 2007, respectively.

46. Based on information and belief, the above-referenced Pro-Act

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procedures and materials used at Sierra Vista do not constitute the requisite

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facility policies and procedures for use of behavioral and/or manual restraints, and

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the behavioral restraint techniques employed by facility staff are inconsistent with

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professional standards.

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47, Defendant's counsel and DRC arranged a meeting at Sierra Vista on

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December 18, 2008 for a discussion among DRC staff, Sierra Vista staff,

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sunhealth Care staff, and a representative of the San Bernardino County

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Patients’ Rights Office on use of restraint at the facility. Defendant's counsel

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requested, and DRC agreed, that “all statements made at the meeting” would be

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covered by applicable setitiement privileges, including but not limited to California

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Evidence Code seciion 1152 and Rule 408 of the Federai Rules of Evidence.
48. On December 26, 2008, DRC sent a written request to Defendant for
information and records, including reports prepared by Defendant on “data from

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January 1, 2008 to the present regarding the number of restraint incidents at

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Sierra Vista, by type of resiraint used and facility program.” DRC also therein

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requested the following information and records used at the facility: Psychiatric

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Advance Directive form, and policies and procedures for its completion; Adverse

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Report form, and policies and procedures for its completion; Notable Incident
Report form, and policies and procedures for its completion; and Forms for
Documentation, Debriefing and Evaluation of the use of restraint, and policies and
procedures for their completion.

49. On January 16, 2008, DRC received from the San Bernardino County
Patients’ Rights Office copies of Sierra Vista’s “Denial of Rights/Seclusicn and
Restraint Monthly Reports’ for the year of 2008. For the entire year of 2008,
Defendant reported only 3 incidents of restraint on the Denial of Rights Reports.

50. Based on information and belief, hundreds of restraint incidents likely
icok place at Sierra Vista in 2008.

ot, On February 6, 2009, Defendant’s counsel sent a letter stating they
would supply most of the information and records requested in DRC’s Decernber
26, 2008 letter, but refused to provide information or reports on restraint incidents
at the facility, stating: “the collection and reporting of such data is covered by
siate and federal peer review and quality assurance privileges.” Defendant
produced documents on February 13 but failed to provide behavioral restraint
incident data for 2008.

52. On February 24, 2009 DRC renewed the request for restraint incident
data, pointing out that such information or reports were not covered by peer
review statutes and, even if they were, that Protection and Advocacy Systems
such as DRC have access to peer review records under federal and state law.

53. DRC also continued to review client medical records. In reviewing
these medical records, DRC staff noticed that in some instances the Psychiatric
Advance Directives, which include statements of preference by residents for
specific and individualized crisis intervention techniques, appeared not to be used
by staff prior to use of so-called Pro-Act restraint techniques.

 

 
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54. DRC also found that the Notable Incident Form, the Adverse Incident
Form, and the other restraint debriefing forms were not present in the client
medical records.

55. In a letier dated March 11, 2009, Defendant again denied DRC’s
request for restraint incident information or reports, this time referencing 42
C.F.R. § 483.75(0}(3) (2003), which retates to information developed by members
af a nursing facility’s quality assessment and assurance committee.

56. On March 20, 2009, DRC renewed its request for restraint incident
information or reports, asking that the time period be expanded from January 1,
2008 to February 28, 2009 due to the amount of time that had elapsed, and
explaining why 42 C.F.R. Sectlon 483.75(0)(3) (2003) did not apply. Further,
DRC broadened its request to include the following records for the period of
January 1, 2008 fo February 28, 2009 with resident identifying information
redacted:

a. Psychiatric Advance Directives completed by residents;
P.A.R.T. Debriefing forms completed by facility staff;

c. Behavioral Resiraini(s) Debriefing & Resolution forms
completed by facility staff;

d. Interview Narrative Records completed by facility staff,

e. Notable Incident Reports completed by facility staff;
Restraint log(s) kept by the facility including but not limited to
that required under Title 22, Cal. Code Regs., § 72461(b); and

g. The names of all facility staff irained on the use of restraints,
including so-called Pro-Act restraints, the date of such training,
and copies of the training materials.

57. in its March 20, 2009 letter to Defendant, DRC reiterated its desire to
work with Defendant in a coordinated, pragmatic and problem-solving fashion

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FIRST AMENDED COMPLAINT FOR DECTARATORY AND WNJONCTIVE RELIEF

 

 
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toward resolution of the concerns brought to light by facility residents. DRC
proposed working with Defendant to: (a) establish facility policies and procedures
on the right of residents to be free from unnecessary or excessive physical
restraint; (b) train facility staff; (c) provide information and training to residents;
and (d) monitor restraint usage. At the same time, DRC stated that it would
“have no option but to seek judicial resolution” if Defendant declined to provide
the requested information and records.

58. in an April 6, 2009 letter, DRC requested that Defendant provide a
written explanation as required under 29 U.S.C. Section 794e(7\(2) and 45 C.F.R.
Section 1386.22(1) (1996) If they had decided not to provide the requested
information and records.

59. In an April 8, 2009 letter, DRC requested access to Sierra Vista
residents for the provision of information about individual rights and the services
available from ine agency, and to monitor conditions at the facility. The request
was for reasonable unaccompanied access to all areas of the facility used by
residents, including but not limited to patio areas during break times and
otherwise used by residents. The request was for access to all residents of the
facility, and in particular residenis who were deaf or had hearing impairments, on
Friday, April 17, 2009, from 11 am to 3 pm. Cal. Welf. & Inst. Code § 4902(a}(3);
PAIMI, 42 U.S.C. § 10801 ef seg.; PADD, 42 U.S.C. § 15001 ef seg..

60. Defendant's counsel denied DRC's access to the facility in an e-mail
on April 10, 2009, stating “I can teil you right now that an April 17 visit will not
work. | will get back to you with alternative cates... .”

61. On April 27, 2009, Defendant’s counsel wrote a response to DRC’'s
April 8, 2009 request for reasonable unaccompanied access to Sierra Vista and
the residents therein. Defendant's counsel proposed a meeting to “meet and
confer... to develop a protocol for [reasonable] access.”

 

 
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62. DRC sent a letter daied May 13, 2009 to Defendant stating its
willingness fo discuss its access authority to the facility and residents therein
upon Defendants’ commitment ta respect DRC’s facility access autharity under
federal and state law. In addition, DRC requested alternative dates as promised
in the April 16, 2009 e-mail from Defendant's counsel. DRC also reserved the
right to ensure its authority.

63. Defendant's counsel replied to DRC’s May 13, 2009 letter regarding
access to the facility and residents with a letter dated May 20, 2009. In this letter,
Defendant's counsel stated its intent to “comply with applicable law regarding
DRC’s right of access to Sierra Vista, but then went on to lay out several “terms
and conditions” under which DRC would be permitted to access Sierra Vista. The
stated conditions went beyond what statuies, regulations, and case law have
deterrnined to be reasonable restrictions on DRC’s right to access a facility
providing information to residents, monitoring the safety of residents, and the
facility's compliance with laws or investigating a report of possible abuse or
neglect.

64. Ina separate April 27, 2009 letter, Defendant declined to produce any
of the information requested by DRC in its March 20, 2009 letter. Defendant
again asserted that data regarding the number of restraint incidents at the facility
were protected facility quality assessment and assurance committee records. In
addition, restraint data and all of the other requested reports were deemed
“peyond the scope of the authority granted to protection and advocacy systems
such as DRC.” Defendant claimed that the “piain language of [federal and state]
statules and regulations ... precludes DRC from obtaining general information
about the facility anc its operations.” Finally, Defendant asserted that DRC “does
not nave the right to access any [staff] training materials or data regarding [staff]
training” on use of restraints.

 

 
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65. On May 15, 2009, DRC requested that Defendant promptly provide
information on the number of Sierra Vista residents between January 1, 2008 and
February 28, 2009, and the names, addresses and phone numbers for the
guardians, conservators or other legal representatives of such individuals,
pursuant to 42 C.F.R. §§ 51.41(a), 51.43 (1997); 45 C.FLR. § 1386.22(1) (1996).

66. As a result of Defendant’s refusal to provide information and records,
including reports prepared by facility staff, DRC is unable to complete its
statutorily mandated abuse investigation into the use of behavioral restraints at
Sierra Vista. DRC deems data regarding the frequency and pervasiveness of
behavicral/physical restraint necessary to its full investigation into abuse at the
facility. Absent this aggregate data, DRC is unable to carry out potential
advocacy to implement changes in and inform residents of facility practices, issue
public reports on restraint incidents across facility programs, monitor trends in
restraint usage, and protect the righis of all Sierra Vista residents. In addition,
Defendant's denial of and delay in DRC’s access to the facility and residents
therein undermines DRC’s ability both to provide information to residents about
their rights and to monitor facility compliance with respect to the rights and safety
of residents.

CLAIMS FOR RELIEF

First Claim for Relief—Violation of the Protection and Advocacy for
individuals with Mental Hiness Act (PAIMD

(Access to individual and General Information, Records, and Reports)
67. DRC incorporates and re-alleges paragraphs 1 through 66, as if fully
set forth herein.
68. 42 U.S.C. § 10805(aX1)(a) authorizes DRC as the protection and
advocacy system for California to investigate incidents of abuse and neglect of

 

 
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individuais with mental iliness if such incidents are reported to DRC or when DRC
has probable cause to believe that incidents of abuse or neglect have occurred.

69. Defendant has an obiigation to provide all records of any individual
who has authorized DRC to have such access under 42 U.S.C. § 10805(a\(4 (A);
42 CFR. § 51.41(b})4) (1997). See also 42 C.F.R. § 51.41(d)} (1997) (providing
that DRC shail have “reasonable access and authority to interview and examine
all relevant records of any facility service recipient”).

70. Defendant has an additional obligation to provide general reports
prepared by or for the facility itself that describe incidents of abuse, neglect, or
injury taking place at the facility; steps taken to investigate such incidents;
relevant personnel records regarding such incidents; and other supporting
information relied upon in creating such a report. 42 C.F.R. § 51.41(c)(2) (1997).
such information includes restraint incident data when DRC has probable cause
to suspect that restraint practices result in injury, abuse, or neglect. See alse 42
U.S.C. § 10806(b)(3)(A) (defining “records” broadly to include “reports” prepared
by any staff of a facility).

71. Additionally, Defendant has an obligation to provide general
“demographic and statistical information” relating to the facility's restraint
practices. See 42 C.F.R. § 51.41(c}(S}.

72. Further, Defendant has an obligation to provide assessments
prepared by its staff, contractors, or related entities regarding the use of restraint.
wee 42 C.FLR. § 51 Ai(c){(4).

73. By refusing to provide DRC access to requested information, records,
and reports Defendant has violated the PAIM! Act and the regulations
promulgated pursuant to the statute.

74. DRC has no adequate remedy at law. There is no administrative
remedy to exhausi. .

 
 

 

TORY AND INJONCTIVE RELIEF

 
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Second Claim for Relief--Violation of the Protection and Advocacy for
individuals with Developmental Disabilities Act (PADD)
{Access to Individual anc General information, Records, and Reports)

15. DRC incorporates and re-alleges paragraphs 1 through 74, as ff fully
set forth herein.

76. 42 U.S.C. § 15043(a)(2\(B) authorizes DRC as the protection and
advocacy system for California to investigate incidents of abuse and neglect of
individuals with developmental disabilities if such incidents are reported to DRC or
when DRC has probable cause to suspect that incidents of abuse or neglect have

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77. Defendant has an obligation to provide all records of any individual
who has authorized DRC to have such access under 42 U.S.C. § 15043(ay(2)(1)(i)
and 45 C.F.R. § 1386.22(a) (1996).

78, Defendant has an additional obligation to provide ail other records that

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are relevant to conducting an investigation into abuse and neglect of individuals

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with developmental disabilities if the incidents are reported to the system or if

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ihere is probable. cause to believe that the incidents occurred. 42 U.S.C. §
15043(aV2\Iyi); 42 U.S.C. § 16043{c).
79. Defendant has an additional obligation to provide general reports

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prepared by or for the facility itself that describe incidents of abuse, neglect, or

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injury taking place at the facility; steps taken to investigate such incidents;

 

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relevant personnel records regarding such incidents; and other supporting

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information relied upon in creating such a report. 45 C.F.R. § 1386.22(b)(2)

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(1996). Such information includes restraint incident data when DRC has probable

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cause to believe that restraint practices result in injury, abuse, or neglect. See

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also 42 U.S.C. § 15043(c} (defining “record” broadly to include a “report” prepared

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80, Additionally, Defendant has an obligation to provide general
“demographic and statistical information” relating to the facility's restraint
practices. See 45 C.FIR. § 1386.22(c)(2) (1996).

81. Further, Defendant has an obligation to provide assessments
prepared by its staff, contractors, or related entities regarding the use of restraint.
see 45 C.F.R. § 1386.22(c)(1) (1996).

82. By refusing to provide DRC access to requested information, records,

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and reports Defendant has violated the PADD Act and the regulations
promulgated pursuant to the statute.

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83. DRC has no adequate remedy at law. There is no administrative

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remedy to exhaust.

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Third Claim for Rellef-—Suppiemental State Law
(Access to Individual and General Information, Records, and Reports)

84. DRC incorporates and re-alleges paragraphs 1 through 83, as if fully

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set forth herein.
85. Cal. Weif. & Inst. Code § 4902(a)(1) authorizes DRC as the protection
and advocacy system for California to investigate incidents of abuse and neglect

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of individuals with mental iliness if such incidents are reported to DRC or when

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DRC has probable cause to believe that incidents of abuse or neglect have

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86. Defendant has an obligation to provide all individual records
concerning the alleged abuse under Cal. Welf. & Inst. Code § 4903(a)(1).
87. Defendant has an additional obligation to provide general reports

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prepared by or for the facility itself that describe incidents of abuse, neglect, or

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injury taking place at the facility; steps taken to investigate such incidents:

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relevant personnel records regarding such incidents; and other supporting

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information relied upon in creating such a report. Cal. Welf. & inst. Code §
4903(b)(2). Such information includes restraint incident data when DRC has

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probable cause to suspect that restraint practices result in injury, abuse, or
neglect.

88. Additionally, Defendants have an obligation to provide general
“demographic and siatistical information” relating to the facility’s restraint
practices. See Cal. Well, & Inst. Code § 4903(c)(2).

89. Further, Defendants have an obligation to provide assessments
prepared by its staff, contractors, or related entities regarding the use of restraint.
see Cal. Welf. & Inst. Code § 4903(c)(1).

90. By refusing to provide DRC access to requested information, records,
and reports Defendant has violated state law.

91. DRC has no adequate remedy at law. There is no administrative
remedy to exhaust.

Fourth Claim for Relief—Violation of PAIMI Act
(Provision of Access to Residents at Facilities)

92. DRC incorporates and re-alleges paragraphs 1 through 91, as if fully
setforth herein.

93. DRC has authority to access facilities in California providing care and
treatment authority to provide information to individuals with mental health
disabilities, monitor their well-being and investigate significant risk of abuse or
neglect in accordance with 42 U.S.C. § 10805(a)(3). Defendant has an obligation
to provide DRC reasonabie unaccompanied access to Sierra Vista, and to
recipients of services therein under 42 C.F.R. § 51.42 (1997). .

94. By refusing to allow DRC reasonable unaccompanied access fo
Sierra Vista and residents therein, Defendant has violated the PAIMI Act and its
implementing regulations.

95. DRC has no adequate remedy at law. There is no administrative
remedy fo exhaust.

 

 
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Fifth Claim for Reliet—Violation of PADD Act
(Provision of Access to Residents at Facilities)

96. DRC incorporates and re-alleges paragraphs 7 through 95, as if fully
set forth herein.

97, DRC has authority to provide information to individuals with
developmental disabilities, monitor their well-being, protect their rights, and
investigate significant risk of abuse or negiect in accordance with 42 U.S.C. §§
15043(ay2yA\i), 15043(aX2)(B), and 15043(a\2\(H). Defendant has an:
obligation to provide DRC reasonable unaccompanied access to Sierra Vista, and
to individuals with developmental disabilities therein under 42 U.S.C. § 15043 and
45 C.F.R. § 1386.22(f),(g)&(h). (1996).

98. By refusing to allow DRC reasonable unaccompanied access to
Sierra Vista and residents therein, Defendant has violated the PADD Act and its
implementing regulations.

99. DRC has no adequate remedy at law. There is no administrative
remedy to exhaust.

Sixth Claim for Rellef—Suppiementai State Law
(Provision of Access to Residents at Facilities)

100. DRC incorporates and re-alleges paragraphs 1 through 99, as if fully
set forth herein.

101. Cal. Welf. & Inst. Code § 4902(a)(3) authorizes DRC to provide
information fo Sierra Vista residents, monitor their well-being and investigate
significant risk of abuse and neglect.

102, Defendants has an obligation to provide reasonable unaccompanied
access to Sierra Vista, and to recipients of services therein under Cal. Welf. &
inst, Code §§ 4902(b), 4902(b)(2).

103. By refusing to allow DRC reasonable unaccompanied access to
Sierra Vista anc residents therein, Defendant has violated State law.

 

 
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104. DRC has no adequate remedy at law. There is no administrative
remedy to exhaust.

Seventh Claim for Relief-—Violation of PAIMI and PADD Acts
(Prompt Notice of Delay or Denial in Access)

105. DRC incorporates and re-alleges paragraphs 1 through 104, as if fully
set forth herein.

106. Defendant has a duty fo provide DRC with a written statement of
reasons for delay or denial of access to Sierra Vista and residents or information
and records therein under 42 C.F.R. § 51.43 (1997) and 45 C.F.R. § 1386.22(i)
(1996).

107. Defendant has failed to provide promptly a written statement of
reasons for denial of DRC’s access to restraint incident data and other records,
and for delay or denial of DRC’s access to the Sierra Vista and residents therein,
and has failed to provide the names, addresses and telephone numbers of the
legal guardians, conservators, or other legal representatives of individuals at the
facility as required and requested.

108. By refusing to provide DRC prompt denial or delay notice of reasons
and requisite contact information, Defendant has violated federai law.

108. DRC has no adequate remedy at law. There is no administrative
remedy to exhaust.

Eighth Claim for Reliel—Supplementail State Law
(Prompt Notice of Delay or Denial in Access)

110. DRC incorporates and re-alleges paragraphs 1 through 109, as if fully
set forth herein.

111. Defendant has a duty to provide promptly a written statement of
reasons for delay or denial in DRC’s access to records or a facility under Cal.
Welf. & Inst. Code § 4902(c). ,

 

 
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1i2. Defendant has failed to provide promptly a written statement of
reasons for denial of DRC’s access to restraint incident data and other records,
and for delay or denial of DRC’s access to the Sierra Vista and residents therein,
including requisite contact information of legal guardians, conservators, or other
legal representatives.

113. By refusing to provide DRC prompt access denial or delay notice,
Defendant has violated State law.

114. DRC has no adequate remedy at law. There is no administrative
remedy to exhaust.

INJUNCTIVE RELIEF

115. DRC repeats, reiterates, and realleges all of the foregoing, as if fully
set forth herein.

116. DRC has standing to bring this action on its own behalf, because the
refusal of access by Defendant constitutes an injury in fact to DRC’s legally-
protected interests and the interests of Its constituents. This injury is concrete,
particularized, actual, and imminent. There is a causal relationship between the
injury and Defendant's challenged conduct, and a favorable decision by this Court
will address the injury.

117. Due to Defendant's violation of the PAIMI and PADD Acts, as well as
the Cal. Welf. & Inst. Code, DRC is irreparably harmed as it is prevented from
carrying out its responsibilities under those Acts.

118. Further, due to Defendan?’s violation of the PAIMI and PADD Acts, as
well as Cal. Weilf. & inst. Code, Sierra Vista residents are irreparably harmed
because they are denied access to DRC for information about their legal rights,
they are denied the opportunity for DRC to monitor health and safety conditions at
the facility, and they are denied DRC’s full investigation into probable cause to
suspect abuse af the facility.

22
riRGT AMENDED COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF

 

 
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t. Grant DRC such other and further relief which to this Court seems just
and proper, including but not limited to reasonable attorney fees.

Dated: June 22, 2009 Respectfully submitted,

Disability Rights California

py, Why hee AD va |

*Tichael Storiz, SBN-153378
Attorney for Plaintiff

 

 

 
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PROOF OF SERVICE

STATE OF CALIFORNIA )
COUNTY OF SAN DIEGO ) Ss.:
)
Case Caption: Disability Rights California, California Protection and
Advocacy Agency For Persons With Disabilities v.
SunBridge Braswell Enterprises, Inc., dba Sierra Vista
Rehabilitation Center

Case No.: CV09-3664 VBF (FFMx)

| am employed in the County of San Diego, State of California. | am
over the age of 18 and not a party to the within action. My business address
is 1111 Sixth Avenue, Suite 200, San Diego, California 92101.

On June 23, 2009, | served the within document(s) entitled:

FIRST AMENDED COMPLAINT FOR DECLARATORY AND
INJUNCTIVE RELIEF

on the interested parties in this action as stated below:

John F. Libby, Esa.

Manatt, Phelps & Phillips, LLP
11355 West Olympic Blvd.
Los Angeles, CA 90064-1614
TEL 310.312.4342

FAX 310.914.5775

email: jlibby@manatt.com
(Attorneys for Defendants )

METHOD OF SERVICE

fj (BY U.S. MAIL): | placed a true copy thereof in sealed envelope(s)
addressed above. | am readily familiar with this firm's practice of
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same day with postage thereon fully prepaid at San Diego, California,
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postage meter date is more than 1 day after date of deposit for

 
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mailing in affidavit.

(BY PERSONAL SERVICE): | personally delivered the documents
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(BY MESSENGER SERVICE): | served the documents by placing
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(State) | declare under penaity of perjury under the laws of the State
of California that the foregoing is true and correct.

(Federal) | declare that | am employed in the office of a member of
the bar of this court at whose direction the service was made.

Executed on June 23, 2009, at San Diego, California.

Kevin Brown boroes “

 

 

(Type or print name) — (Signature)

 
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DATE: June 23,2008 TIME: TO:22 AM
Kevin Brown - Assistant to Legal Secretary # -
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RE: Sierra Vista - First Amended Complaint

NUMBER OF PAGES @NCLUDING COVER}: 26
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